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          EXHIBIT C
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                        COMMONWEALTH OF MASSACHUSETTS
                        TRIA.L COURT OF THE COMMONWEALTH

HA.MPDEN, ss.                                        SUPERIOR COURT DIVISION
                                                     CIVIL ACTION NO.:
                                                                        2 1 0448
EILEEN ANDREASSI,
          Plaintiff,
                                                     COMPLAINT AND DEMAND              j
vs.                                                  FOR JURY TRIAI. 14A.ApoCzA1       ~
                                                                     eCJF~       COU~T-~(
RIVERSIDE PARK ENTERPRISES, INC.                                            A!RIF,~ U~~
d/b/a SIX FLAGS NEW ENGLAND,                                                  A1IS
             Defendant,                                                                2021      ;

                                                                            C,'w~~-o C`~~n7a'
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                                                                                      ~~~
                                          PARTIES

1.     The Plaintiff, EILEEN ANDREASSI, is a natural person of legal age who resides at 1        I
                                                                                                 ~
       Beatty Circle, Herriman, Orange County, State of New York.                                ~

2.     The Defendant, RIVERSIDE PARK ENTERPRISES, INC. d/b/a SIX FLAGS NEW
       ENGLAND, is a duly formed business within the Commonwealth with a principal place
       of business located at 1623 Main Street, Agawam, Hampen County, Commonwealth of
       Massachusetts; and a Registered Agent, Corporation Service Company, located at 84
       State Street, Boston, Suffolk County, Commonwealth of Massachusetts.

                          GENERAL FACTUAL ALLEGATIONS

3.     The Plaintiff, EILEEN ANDREASSI, re-alleges and incorporates herein by reference
       paragraphs one through two of this Complaint.

4.     At all times relevant in this Complaint, the Defendant, RIVERSIDE PARK
       ENTERPRISES, INC. d/b/a SIX FLAGS NEW ENGLAND, owned, operated and/or
       maintained Six Flags New England Amusement Park located at 1623 Main Street,
       Agawam, Massachusetts (hereinafter "Premises").

5.     On October 13, 2018, the Plaintiff, EILEEN ANDREASSI, was a lawful patron/guest of
       the Amusment Park on the Premises.

6.      On October 13, 2018, as the Plaintiff, EILEEN ANDREASSI, was taking photographs on ~
        the platforxn with the shark, when she was caused to fall off of the dark platform with no
        railings, and was injured.


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7.     As a result of accident, the Plaintiff, EII,EEN ANDREASSI, sustained foreseeable injury
       and required medical treatment.

                                  COUNT I - NEGLIGENCE

       The Plaintiff, EILEEN ANDREASSI, re-alleges and incorporates herein by reference
       paragraphs one through seven of this Complaint.

       The Defendant, RIVERSIDE PARK ENTERPRISES, INC. d/b/a SIX FLAGS NEW
       ENGLAND, had a non-delegable duty of reasonable care to maintain its premises free
       from dangerous and/or defective conditions, and/or to warn all persons legally on its
       premises of any dangerous or unsafe conditions on the property.

10.    The Defendant, RIVERSIDE PARK ENTERPRISES, INC. d/b/a SIX FLAGS NEW
       ENGLAND, knew or should have known. about the unsafe or dangerous condition that             ~
       existed with the shark platform, as the platform was   dark, made   out of dark wood, and no ~
       railings present to protect patrons/guests from falling off of the platform.

11.    The Defendant, RIVERSIDE PARK ENTERPRISES, INC. d/b/a SIX FLAGS NEW
       ENGLAND, breached this duty to exercise reasonable care to persons legally on the
       premises when they failed to maintain its premises free £rom dangerous and/or defective
       conditions, and/or to watn the Plaintiff, EILEEN ANDREASSI, of an unsafe and
       dangerous condition that existed with the shark platform, as the platform was dark, made
       out of dark wood, and no railings present to protect patrons/guests from falling off of the
       platform

12.    As a direct and proximate result of the Defendant, RIVERSIDE PARK ENTERPRISES,
       INC. d/b/a SIX FLAGS NEW ENGLAND' S, negligent failure to maintain its premises
       free from dangerous and/or defective conditions, and/or its failure to warn the Plaintiff of
       said dangers, the Plaintiff, EILEEN ANDREASSI, was caused to sustain foreseeable
       physical bodily injury, suffer great pain of body and mind, and incur substantial expenses
       for medical treatment of his injuries.

        WHEREFORE, the Plaintiff, EILEEN ANDREASSI, demands judgement against the
Defendant, RIVERSIDE PARK ENTERPRISES, INC. d/b/a S1X FLAGS NEW ENGLAND, for
an amount reasonable according to the evidence as the Court deems appropriate, together with
interest and costs.

         THE PLAINTIFF DEMANDS A TRIAL BY JURY AS TO ALL ISSUES




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                                  FOR TEE PLAINTIFF,
                                  Eileen Andreassi,
                                  $y-lier Attorney,



                                  Patrick J. Vcp-ugh, Eslq,.~'
                                  BBO# 564XV
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Dated:       ( -Z'




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